Case 2:18-cr-20063-BAF-EAS ECF No. 82 filed 10/02/20                  PageID.299       Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,                                          Criminal No. 18-CR-20063-01

vs.                                                          HON. BERNARD A. FRIEDMAN

DHIA SHAKIR KALASHO,

      Defendant.
____________________________/

                       OPINION AND ORDER DENYING
              DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

                 This matter is presently before the Court on defendant’s motion for compassionate

release [docket entry 79]. The government has filed a response in opposition. As there is

plainly no merit to defendant’s motion, the Court shall deny it without waiting for defendant to

reply.

                 In August 2019, the Court sentenced defendant to a 60-month prison term (the

statutory mandatory minimum) after he pled guilty to distributing at least 28 grams of cocaine

base.1 At the time of sentencing, defendant was in custody on an unrelated state case. He was


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        The factual basis for defendant’s guilty plea is stated in ¶ 1C of the parties’ Rule 11
Plea Agreement:

                         From an unknown date, but no later than January 2016,
                 until November 28, 2017, Dhia Kalasho agreed with Kennedy
                 Smith to sell drugs in the Eastern District of Michigan. Over
                 several years, Smith regularly obtained quantities of crack
                 cocaine, powder cocaine, and heroin which he sold to Kalasho.
                 Kalasho, in turn, sold these drugs to drug users. Smith commonly
                 distributed the drugs to Kalasho at his residence, first in Detroit
                 and then in Sterling Heights. Kalasho distributed the drugs from
                 the same residences. Over the course of the conspiracy, the
                 conspiracy as a whole involved more than 28 grams of crack, all
Case 2:18-cr-20063-BAF-EAS ECF No. 82 filed 10/02/20              PageID.300       Page 2 of 4




released from state custody on May 27, 2020, and apparently he has been held in Midland

County Jail pending his designation to a federal facility by the Bureau of Prisons. He seeks

release “in response to the Covid-19 pandemic” because he is 61 years old and has “high blood

pressure [and a] hernia - need surgery, among other issues.” Def.’s Mot. at 2-3. The

government opposes the motion on the grounds that the risk to defendant’s health is minimal and

that he does not meet other requirements for compassionate release.

              This Court has summarized the legal standards applicable to this motion as

follows:

              The compassionate release statute allows the Court to modify a
              defendant’s term of imprisonment if: (1) he fully exhausts all
              administrative remedies; (2) he shows both “extraordinary and
              compelling reasons warrant such a reduction [or release]” and that
              the reduction or release is consistent with” the Sentencing
              Commission’s policy statements; (3) he is not a danger to any
              other person or the community; and (4) the factors in 18 U.S.C. §
              3553(a) support the reduction or release to the extent they are
              applicable. See 18 U.S.C. § 3582(c)(1)(A)(i); United States
              Sentencing Guidelines Manual (“USSG”) § 1B1.13 cmt. n.1;
              United States v. Austin, No. 15-20609, 2020 WL 2507622, at *1
              (E.D. Mich. May 15, 2020).

                                          *   *    *

              Section 1B1.13 of the Sentencing Guidelines is the “applicable
              policy statement” with which the Court must comply when
              considering a request for compassionate release. Section 1B1.13
              explains that a defendant must “not [be] a danger to the safety of
              any other person or to the community” under 18 U.S.C. § 3142(g)



              of which was foreseeable to Kalasho.
                     On November 8, 2017, an undercover police officer
              requested more than 28 grams of crack cocaine from Kalasho.
              Kalasho ordered that quantity from Smith who supplied it to
              Kalasho at his residence as the undercover officer waited. Kalasho
              then sold 29 grams of crack to the undercover officer.

                                              2
Case 2:18-cr-20063-BAF-EAS ECF No. 82 filed 10/02/20                   PageID.301       Page 3 of 4




                 and must fit within at least one of the following four categories of
                 “extraordinary and compelling reasons”: (1) the defendant’s
                 medical condition; (2) the defendant’s age; (3) the defendant’s
                 family circumstances; and (4) other reasons as determined by the
                 BOP. USSG § 1B1.13 cmt. n.1; Austin, 2020 WL 2507622, at *1.

United States v. Wingo, No. 15-20450, 2020 WL 4676388, at *1-2 (E.D. Mich. Aug. 12, 2020).

                 The Court has considered these factors and concludes that compassionate release

would not be appropriate in this case. First, defendant has not shown that he has a medical

condition (combined with his age) that places his health and safety at such great risk to

constitute extraordinary and compelling reasons for release. The Centers for Disease Control

and Prevention currently recognizes hypertension as a condition that “might” be a COVID-19

risk   factor.      See   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

people-with-medical-conditions.html (last visited Oct. 1, 2020).            The Court notes that

hypertension is a common medical condition shared by over 100 million Americans, see United

States v. Colbert, No. 99-80399, 2020 WL 3529533, at *2 (E.D. Mich. June 30, 2020), and

current medical research indicates that the link between hypertension and COVID-19 is unclear.

See       https://www.acc.org/latest-in-cardiology/articles/2020/07/06/08/15/covid-19-

and-hypertension (last visited Oct. 1, 2020). Therefore, the mere fact that defendant has

hypertension does not put him at any particular risk. Obviously, defendant’s hernia is not a risk

factor.

                 Moreover, defendant has not shown that the risk of infection at the Midland

County Jail is unacceptably high.         In fact, he says nothing about the conditions he is

experiencing at that facility. This Court has stated that “[a] generalized risk of contracting

COVID-19, or potentially developing the more severe symptoms associated with it, are not the


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Case 2:18-cr-20063-BAF-EAS ECF No. 82 filed 10/02/20                          PageID.302         Page 4 of 4




type of ‘extraordinary and compelling reasons’ that justify compassionate release.” United

States v. Gordon, No. CR 11-20752, 2020 WL 4381948, at *4 (E.D. Mich. July 31, 2020). See

also United States v. Shah, No. 16-20457, 2020 WL 1934930, at *2 (E.D. Mich. Apr. 22, 2020)

(“[S]peculation as to whether COVID-19 will spread through Defendant’s detention facility, .

. . whether Defendant will contract COVID-19, and whether he will develop serious

complications does not justify the extreme remedy of compassionate release.”). Defendant has

shown no more than a generalized risk, not a risk that is specific to him based on his living

circumstances and medical conditions.

                 The Court concludes that defendant has failed to show the existence of any

extraordinary and compelling reason warranting his immediate release. Accordingly,



                 IT IS ORDERED that defendant’s motion for compassionate release is denied.




                                                     s/Bernard A. Friedman
                                                     Bernard A. Friedman
 Dated: October 2, 2020                              Senior United States District Judge
        Detroit, Michigan


                                       CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of record and any
unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on October 2, 2020.

 Dhia Shakir Kalasho, Pris No. 911519                s/Johnetta M. Curry-Williams
 105 Fast Ice Dr.                                    Case Manager
 Midland, MI 48642




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